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             Exhibit 39
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                                     General Order
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                            Date of Issue             Effective Date                  Number


                            20 April 2017             20 APRIL 2017                   17-06
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Subject                                               File Code


RULES OF CONDUCT                                     "R"
Reference                           Rescinds          Amends                       Distribution


                                    14-02                                          All


            PURPOSE

               It is the purpose of this policy to provide specific guidelines to the standards of
            conduct embodied in the law enforcement officer's code of ethics and the Warren
            Police Department's statement of rules, regulations and responsibilities so that
            employees of this agency will better understand prohibitions and limitations
               pertaining to their conduct and activities while on and off duty.

            These rules are adopted and published by the Commissioner of Police for the
               guidance and administration of the Warren Police Department and its members,
               pursuant to the laws of the State of Michigan. The provisions of these rules are
               binding upon all its members of the Department as they may apply to the Individual
               ranks and positions held by them.

               The rules of conduct set forth in this policy are not intended to serve as an
               exhaustive treatment of requirements, limitations, or prohibitions on employee
               conduct and activities established by this agency. Rather, they are intended to:

            (1)       Alert employees to some of the more sensitive and often problematic matters
                      involved in police conduct and ethics.
            (2)       Specify, where possible, actions and inactions that are contrary to and that
                      conflict with the duties and responsibilities of law enforcement officers and
                      civilian employees.
            (3)       Guide employees in conducting themselves and their affairs in a manner that
                      reflects standards of deportment and professionalism as required of law
                      enforcement officers and civilian personnel. Additional guidance on matters
                      of conduct is provided in regard to specific policies, procedures and
                      directives disseminated by this agency and from the employee's immediate
                      supervisors and commanders.

               Members of the Department who violate a rule or regulation, a provision of a policy
               or procedural order, or who are convicted in a court having criminal jurisdiction shall
               be subject to disciplinary action up to and including dismissal.
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         Existence of facts establishing a violation of law, ordinance or rule, is all that is
         required to support charges of such an allegation. It is not necessary that formal
         complaints be filed or sustained. Supervisors are authorized to take corrective
         action when employees under their supervision commit minor infractions.

         Whenever deemed necessary for the preservation of good order, efficiency and
         discipline, a supervisor may suspend a subordinate from duty pending his reporting
         to the Chief of Police the facts and circumstances of the infraction. Disciplinary
         actions administered under this authority will be reported in writing to the Chief of
         Police no later than at the end of the shift during which the disciplinary action was
         taken.

  II.    POLICY

         Actions of officers that are inconsistent, incompatible, or in conflict with the values
         established by this agency negatively affect its reputation and that of its officers.
         Such actions and inactions thereby detract from the Warren Police Department's
         overall ability to effectively and efficiently protect the public, maintain peace and
         order, and conduct other essential business. Therefore, it is the policy of the
         Warren Police Department that officers conduct themselves in a manner that
         reflects the ethical standards consistent with the rules contained in this policy and
         othen/vise disseminated by this agency.

  III.   PROCEDURE

         To gain uniformity in Department operations and for the good order, efficiency and
         discipline of the members, the following rules and codes are necessary for the
         regulation of conduct of all personnel.

         A.       Law Enforcement Code of Ethics

                  A police officer acts as an official representative of government who is
                  required and trusted to work within the law. The officer's powers and duties
                  are conferred by statute. The fundamental duties of a police officer include
                  serving the community, safeguarding lives and property, keeping the peace
                  and ensuring the rights of all to liberty and the equality of justice.

                  1.     Performance of the Duties of a Police Officer
                        (a)     A police officer shall perform all duties impartially, without favor
                                or ill will, and without regard to status, sex, race, national origin,
                                religion, political belief or aspiration. All citizens will be treated
                                equally, with courtesy, consideration and dignity.
                         (b)    Officers will never allow personal feelings, animosities or
                                friendships to influence official conduct. Laws will be enforced
                                appropriately and courteously and, in carrying out their
                                responsibilities, officers will strive to obtain maximum
                                cooperation from the public. They will conduct themselves in
                                appearance and demeanor in such a manner as to inspire
                                confidence and respect for the position of public trust they hold.
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             2.    Discretion
                   (a)     A police officer will use responsibly the discretion vested in the
                           position and exercise it within the law. The principle of
                           reasonableness will guide the officer's determinations
                           considering surrounding circumstances in determining whether
                           any legal action should be taken.
                   (b)     The consistent and wise use of discretion, based on
                           professional policing competence, will do much to preserve
                           good relationships and retain the confidence of the public.
                           There can be difficulty in choosing between conflicting courses
                           of action. It is important to remember that a timely word of
                           advice, which may be correct in the appropriate circumstances,
                           can be a more effective means of achieving a desired end
                              rather than an arrest.


              3.    Use of Force
                   A police officer will not use unnecessary force or violence, and will use
                   only such force in the discharge of duty as is reasonable in all
                   circumstances, and in compliance with the Department's Use of Force
                    policy.

              4.    Confidentiality
                   (a)        Whatever a police officer sees, hears or learns of, which is of a
                              confidential nature, will be kept secret unless the performance
                              of duty or legal mandate requires otherwise.
                   (b)        Members of the public have a right to security and privacy, and
                              information obtained about them must not be improperly
                              divulged.

              5.    Integrity
                   (a)        A police officer shall not engage in acts of corruption or bribery,
                              nor will an officer condone such acts by other police officers.
                   (b)        The public demands that the integrity of police officers be
                              above reproach. Police officers must, therefore, avoid any
                              conduct that might compromise integrity and thus betray the
                              public confidence in a law enforcement agency. Officers will
                              refuse to accept any gifts, presents, subscriptions, favors,
                              gratuities or promises that could be interpreted as seeking to
                              cause the officer to refrain from performing official
                              responsibilities honestly and within the law. Police officers
                              must not receive private or special advantages from their
                              official status. Respect from the public cannot be bought; it can
                              only be earned and cultivated.
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             6.    Cooperation with other Officers and Agencies

                   In the pursuit of justice, police officers will make every reasonable
                   effort to cooperate and assist all legally authorized agencies and their
                   representatives.

             7.    Personal/Professional Capabilities

                   Police officers are responsible for their own standard of professional
                   performance. They will take reasonable opportunities to enhance and
                   improve their level of knowledge and competence. Through study and
                   experience, a police officer can acquire a higher level of knowledge
                   and competence that is essential for the efficient and effective
                   performance of duty. The acquisition of knowledge is a never-ending
                    process of personal and professional development that should be
                    pursued constantly.

              8.   Private and Professional Life

                    Police officers will behave in a manner that does not bring discredit to
                   this agency or themselves. A police officer's character and conduct
                   while off duty must always be exemplary in order to maintain a
                   position of respect. A police officer's personal behavior must be
                    beyond reproach.

        B.    General Conduct

              1.    Obedience to Laws, Regulations and Orders
                   (a)     Officers shall not violate any law or any agency policy, rule or
                           procedure.
                   (b)     Officers shall obey all lawful orders.

              2.    Conduct Unbecoming an Officer

                    Officers shall not engage in any conduct or activities on-duty or off-
                    duty that reflect discredit on the officer, tend to bring this agency into
                    disrepute, or impair its efficiency and effective operation.

              3.    Unsatisfactory Performance

                    Officers shall maintain sufficient competency to properly perform their
                    duties and assume the responsibilities of their positions. Officers shall
                    perform their duties in a manner that will maintain the highest
                    standards of efficiency in carrying out the functions and objectives of
                    the Department. The delegation of enforcement of certain laws and
                    ordinances to a particular division of the Department does not relieve
                    members of other divisions from taking proper police action that may
                    come to their attention.         Unsatisfactory performance may be
                    demonstrated by the:
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                   (a)   Lack of knowledge of the application of laws required to be
                         enforced.
                   (b)   An unwillingness or inability to perform the assigned tasks.
                   (c)   Failure to conform to work standards established by the
                          Department.
                   (d)    Failure to take appropriate action on the occasion of a crime,
                         disorder, or other condition deserving police attention.
                   (e)   Engaging in any activity or personal business that would cause
                         them to neglect or be inattentive to duty.
                   (f)   Absence without leave.

             4.    Accountability, Responsibility, and Discipline
                   (a)    Officers are directly accountable for their actions through the
                          chain of command, to the Commissioner of Police.
                   (b)    Officers shall promptly obey any lawful order of a supervising
                          officer. This will include orders relayed from a supervising
                          officer by an officer of the same or lesser rank.
                   (c)    Officers shall take appropriate action to protect life and
                          property, preserve the peace, prevent crime, detect and arrest
                          violators of the law, enforce all federal, state and local laws and
                          ordinances coming within Departmental jurisdiction. Officers
                          shall conduct themselves in a manner commensurate with the
                          highest professional standards and render other assistance to
                          citizens when required.
                   (d)    All complaints against any member of the Department shall be
                          received and handled in accordance with Departmental policy
                          and procedure by a supervisor. Complaints from any source,
                          citizen or agency, written or oral, signed or anonymous, shall
                          be taken in their entirety in a courteous and efficient manner.
                   (e)    Officers shall be accurate, complete and truthful in all matters.
                   (f)    Officers shall accept responsibility of their actions without
                          attempting to conceal, divert or mitigate their true culpability,
                          nor shall they engage in efforts to thwart, influence or interfere
                          with an internal or criminal investigation.
                   (g)    Officers who are arrested, cited, or come under investigation for
                          any criminal offense in this or another jurisdiction shall report
                          this fact to a supervisor as soon as possible.

              5.    Conduct Toward Fellow Employees
                   (a)    Employees shall conduct themselves in a manner that will
                          foster cooperation among members of this agency, showing
                          respect, courtesy, and professionalism in their dealing with one
                          another.
                   (b)    Employees shall not use language or engage in acts that
                          demean, harass, or intimidate another person. (Employees
                          should refer to this Department's policy on "Harassment and
                          Discrimination in the Workplace" for additional information on
                          this subject.)
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                   (c)    Employees are prohibited from surreptitiously recording another
                          employee by capturing audio and/or video in any format or onto
                          any media.

             6.    Conduct Toward the Public
                   (a)    Officers shall conduct themselves toward the public in a civil
                          and professional manner that connotes a service orientation
                          and that will foster public respect and cooperation.
                   (b)    Members shall be tactful in the performance of their duties,
                          shall control their tempers, and exercise the utmost patience
                          and discretion, even in the face of extreme provocation. In the
                          performance of their duties, employees shall not use coarse,
                          violent, profane or insolent language or gestures and shall not
                          express any prejudice or engage in any profiling practices
                          concerning race, religion, politics, age, sex, national origin,
                          lifestyle or similar personal characteristics.
                   (c)    While recognizing the need to demonstrate authority and
                          control over criminal suspects and prisoners, officers shall
                          adhere to this agency's use-of-force policy and shall observe
                          the civil rights and protect the well being of those in their
                          charge.

              7.    Use of Alcohol and Drugs
                   (a)    Officers shall not store or bring into any police facility or vehicle
                          alcoholic beverages or illegal drugs unless they are to be held
                          as evidence or to be used in the performance of their official
                          duties.
                   (b)    Officers shall not consume intoxicating beverages while in
                          uniform or on duty except in the performance of duty, and while
                          acting under proper and specific orders from a supervising
                          officer.
                   (c)    Officers shall not appear for duty, or be on duty, while under the
                          influence of intoxicants to any degree whatsoever, or with the
                          odor of intoxicants upon their breath.
                    (d)   No employee shall illegally possess any controlled substance,
                          or ingest any controlled or other dangerous substance, unless
                          as prescribed by a licensed medical practitioner.
                    (e)   Employees shall notify their immediate supervisor when
                          required to use prescription medication that they have been
                          informed has the potential to impair job performance. The
                          employee shall advise the supervisor of the known side effects
                          of such medication, as well as the prescribed period of use.
                    (f)    No employee shall report to work or be on duty as a law
                          enforcement officer when          alcohol, medication      or other
                          substances have impaired their judgment or physical condition.

              8.    Use of Tobacco Products
                    (a)   Smoking within the Police Headquarters Building shall be
                           prohibited.
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                    (b)   Uniformed officers shall not smoke on duty while in direct
                          contact with the public.
                    (c)   Smoking is prohibited in Warren Police Department vehicles.
                    (d)   All members of the Warren Police Department are prohibited
                          from using chewing tobacco or snuff while on duty. At no time
                          will this activity be permitted in police headquarters, the police
                          department grounds, police vehicles, or anywhere within the
                          public view while identifiable as a member of this Department.

             9.     Abuse of Law Enforcement Powers or Position
                    (a)   Officers shall not use their authority or position for financial
                          gain, for obtaining or granting privileges or favors not otherwise
                          available to them or others except as a private citizen, to avoid
                          the consequences of illegal acts for themselves or for others, to
                          barter, solicit, or accept any goods or services (to include,
                          gratuities, gifts, discounts, rewards, loans, or fees) whether for
                          the officer or for another.
                    (b)   Officers shall not purchase, convert to their own use, or have
                          any claim to any found, impounded, abandoned, or recovered
                          property, or any property held or released as evidence.
                    (c)   Officers, while on duty, shall not solicit or accept contributions
                          for the Warren Police Department or for any other agency,
                          organization, event, or cause without the express consent of
                          the Commissioner of Police or designee.
                    (d)   Officers, while off duty, shall not represent themselves as a
                          police officer to solicit or accept contributions without the
                          express consent of the Commissioner of Police or designee.
                    (e)   Officers who institute or reasonably expect to benefit from any
                          civil action that arises from acts performed under color of
                          authority shall inform the Commissioner of Police.
                    (f)   Approval to work outside or secondary employment shall be
                          conditional when it impacts or becomes a liability to the
                          operation and efficiency of the Department and is governed by
                          established guidelines and restrictions.

              10.   Prohibited Associations and Establishments
                    (a)   Officers shall not knowingly commence or maintain a
                          relationship with any person who has a reputation in the
                          community or this Department for present involvement in
                          felonious or criminal activity, except as is necessary to the
                           performance of official duties, or where unavoidable because of
                          familial relationships.
                    (b)    Except in the performance of official duties, officers shall not
                           knowingly enter any establishment in which the law of that
                          jurisdiction is regularly violated.
                    (c)    Officers shall not knowingly join or participate in any
                           organization that advocates, incites, or supports criminal acts or
                           criminal conspiracies.
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              11.   Gambling

                    Officers shall not engage or participate in any form of illegal gambling
                    at any time, except in the performance of duty and while acting under
                    proper and specific orders from a supervising officer.

              12.   Off-Duty Police Action
                    (a)   Officers shall not use their police powers to resolve personal
                          grievances (e.g., those involving the officer, family members,
                          relatives, or friends) except under circumstances that would
                          justify the use of self-defense, actions to prevent injury to
                          another person, or when a serious offense has been committed
                          that would justify an arrest. In all other cases, officers shall
                          summon on-duty police personnel and a supervisor in cases
                          where there is a personal involvement that would reasonably
                          require law enforcement intervention.
                    (b)    Off-duty officers shall not arrest or issue citations or warnings to
                           traffic violators on sight, except when the violation is of such a
                           dangerous nature that officers would reasonably be expected to
                           take appropriate action.

        C.    Public Statements, Appearances and Endorsements

              1.    Officers shall not, at any time or place or in any manner publicly or
                    privately,
                    (a)    Criticize or ridicule the Department, its policies or other Officers
                           by speech, writing or other expression when such speech,
                           writing or other expression or communication adversely affects
                           morale or undermines the effective operation of the Police
                           Department, interferes with the maintenance of discipline,
                           perception to the public, or is made with reckless disregard for
                           the truthfulness or falsity of the contents of the communication.
                           As used herein, "publicly" means any speech, writing or other
                           communication to persons in employee locker rooms, lounges,
                           corridors or other areas of the Police Headquarters building
                           generally accessible to employees.
                    (b)    Unless expressly authorized, address public gatherings, appear
                           on radio or television, prepare any articles for publications, act
                           as correspondents to a newspaper or periodical, or any other
                           matters of the Warren Police Department while holding
                           themselves out as representing the Department. Officers may
                           lecture on "police" or other related subjects only with the prior
                           approval of the Commissioner of Police or designee.
                    (c)    Divulge or willfully permit to have divulged, any information
                           gained by reason of their position, for anything other than its
                           official, authorized purpose.
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                                     12
             2.    Endorsements


                   Officers shall not, under color of authority, endorse, recommend, or
                   facilitate the sale of commercial products or services. This includes
                   but is not limited to the use of tow services, repair firms, attorneys, bail
                   bondsmen, morticians, or other technical and professional services. It
                   does not pertain to the endorsement of appropriate governmental
                   services where there is a duty to make such endorsements.

       D.    Political Activity

             1.     Officers shall be guided by State law regarding their participation and
                   involvement in political activities.

             2.     Where state law is silent on this issue, officers shall be guided by the
                   following examples of prohibited activities during working hours,
                   while in uniform, or othen/vise serving as a representative of this
                    agency:
                   (a)     Engage in any political activity.
                   (b)     Place or affix any campaign literature on city-owned property.
                   (c)     Solicit political funds from any member of this agency or
                           another governmental agency of this jurisdiction.
                   (d)     Solicit contributions, signatures, or other forms of support for
                           political candidates, parties, or ballot measures on property
                           owned by this jurisdiction.
                   (e)     Use official authority to interfere with any election or interfere
                           with the political actions of other employees or the general
                           public.
                   (f)     Favor or discriminate against any person seeking employment
                           because of political opinions or affiliations.
                   (g)     Participate in any type of political activity while in uniform
                           without the expressed approval of the Commissioner of Police
                           or designee.

       E.    Department Equipment and Property

             1.    Officers and employees are responsible for the proper care of
                   Department property and equipment assigned to them.
                   (a) Employees shall utilize Department equipment only for its
                          intended purpose, in accordance with established Departmental
                          procedures, and shall not abuse, damage or lose Department
                           equipment.
                    (b)    All Department equipment issued shall be properly safeguarded
                           and maintained in proper order. A member of the Department
                           shall report to his supervising officer the loss, damage or
                           unserviceable condition of any property assigned to them.
                    (c)    Damaged or lost property may subject the responsible
                           individual   to   reimbursement       charges    and    appropriate
                           disciplinary action.
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                                          12
                    (d)  Employees shall not mar, mark or deface any surface or notice
                         in any Department building.
                    (e)  Officers shall not store personal information or belongings with
                         an expectation of personal privacy in such places as lockers,
                         desks, Department-owned vehicles, file cabinets, computers or
                         similar areas that are under the control and management of this
                         law enforcement agency. This agency recognizes the need for
                         officers to occasionally store personal items in such areas.
                         Officers should be aware that these and similar places may be
                           inspected or otherwise entered to meet operational needs,
                           internal investigatory requirements, or for other reasons at the
                           direction of the Commissioner of Police or designee.
                     (f)   No member of this agency shall maintain files or duplicate
                           copies of official agency files in either manual or electronic
                           formats at their place of residence or other locations outside the
                           confines of this agency without express permission.
                    (g)    Any member retiring, resigning, upon dismissal or in any way
                           terminated from the Department, shall surrender all Department
                           property to their commanding officer or designee and shall
                           receive an itemized receipt.

                     The use of Departmental vehicles shall be in accordance with
                     established procedures.
                     (a)   Officers shall not use any Department vehicle without the
                            permission of a supervisory officer.
                     (b)   Employees shall operate vehicles carefully and obey all laws
                           and Departmental orders pertaining to such operation. The
                           loss or suspension of any operator's license shall be
                           immediately reported to the Department.
                     (c)   Accidents involving City personnel, property and/or equipment
                           shall be reported immediately to a supervisor.
                     (d)   In the event that Department property is found bearing
                           evidence of damage which has not been reported, it shall be
                           prima facie evidence that the last person using the property or
                            vehicle was responsible.

  F.    Suspension from Duty

               1.    When a member of the Department is being suspended, the
                     suspending supervisor shall:
                     (a)    Notify the officer or employee that suspension is being
                            imposed, citing the reason for the suspension and stating the
                            effective date.
                     (b)    Suspension may occur immediately or at a future date.
                     (c)    Any suspension days in excess of one (1) shall be consecutive
                            but not in conjunction with schedule leave or furlough.




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              2.    The officer will be directed to immediately surrender their police
                    badge, Department firearm, identification cards and any other
                    requested Department property.
                   (a)    If the officer's condition or action suggest harm to self or others,
                          all firearms in the officer's possession shall be immediately
                             surrendered.
                     (b)     Equipment taken shall be secured in a location designated by
                             the officer's Bureau Captain. (Firearms shall be unloaded.)
                     (c)     If the officer's firearm is confiscated as evidence, the firearm
                             shall be tagged, entered in the property book, and secured in
                             the property room.
                      (d)    If the suspension is to occur at a future date, the suspended
                             officer shall surrender badge, firearm and identification cards
                             on the officer's last working day preceding the suspension.

               3.     The officer shall be informed that while suspended, it is not
                      permissible to wear a Warren Police Department uniform, nor function
                      in any capacity as a police officer, and must obey as a citizen laws
                      governing the carrying of firearms.

               4.     When a suspension from duty is invoked, a misconduct report,
                      charges and specifications as outlined in General Order #01-11 shall
                      be prepared.

  G.    Restoration to Duty

               The Bureau Captain shall restore the suspended officer or employee to duty
               as of a date and direct them to report to a supervisor for duty assignment.
               Any equipment taken at the time of suspension shall be returned.




  POLICE COMMISSIONER

  MN/JG/jtf




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